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         Exhibit 3
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From:              Vanlanduyt, Melissa A - DNR (Missy)
To:                Brown, Brigit E - DNR; Brusoe, Diane M - DNR; DNR DL FWP PRM District Supervisors; Hefty, Brian - DNR;
                   Madison, Robert C - DNR (Chris); Pedretti, Christopher L - DNR; Saleh, Hadeer M - DNR; Vanlanduyt, Melissa A -
                   DNR (Missy); Schmelzer, Steven J - DNR
Subject:           Vaccination Status for Volunteers - info
Date:              Tuesday, August 24, 2021 4:27:53 PM
Attachments:       image001.gif
                   image002.gif
                   image003.gif
                   image004.gif
                   image005.gif
                   image006.gif
                   C19_2021_Masking and Vaccination Status for Stakeholders.xlsx


Good evening,
FYI - I wanted to share some of my notes from this morning as well as other information that may
prove helpful in determining if/how vaccination status for volunteers may work. Please see the
attached table for future use when we have additional information. Please also see the below
bulleted list of points and questions.
        Need decision on volunteers, contractors and concessionaires for vaccination status
        There are two types of volunteers:
               Agents of the state: acting under the direction of the state, example; campground host,
               nature center host, volunteer vsa, long-term volunteer
               Non-agents of the state: groups under the direction of a leader – girl scout troop
               leader, corporate volunteer outing, friends volunteer clean-up
        Need to clarify for staff the difference in a contracted employee, contractor (plumber) and
        concessionaire and what their requirements are
        Need the “why” if we’re to communicate this requirement to partners/externals
        Request this follow the current volunteer background check process for volunteers that are
        agents of the state in which their vaccination status will be submitted to and held
        confidentially with HR directly
        How to we enforce this?
        What happens if a volunteer says no?
        How to we check to see who has and has not since we don’t have a “roster” of volunteers
        Need speaking points
        Friends groups as an entity are not considered agents of the state

While I think this would be an incredible undertaking, very controversial and difficult to manage; if
required to, it may make sense to require only volunteer agents of the state to submit vaccination
status and only following the current background check process outlined by legal and HR.


We are committed to service excellence.
Visit our survey at http://dnr.wi.gov/customersurvey to evaluate how I did.

Missy VanLanduyt
Recreation Partnerships, External Relations and Communication Section Chief – Bureau of Parks and Recreation
Management
Wisconsin Department of Natural Resources
101 South Webster Street
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